              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


 DUNG NGUEN,
 MYDUNG NGUYEN,
 LINH NGUYEN
                                          Case No: 2010 cv 00504
                Plaintiffs.
                                          JURY DEMAND
 v.

 COUNTRYSIDE POLICE DEPT.,
 ANNA CUMBO,
 SAM BECCARA,
 ANGELA BECCARA

                Defendants.



                              COMPLAINT AT LAW

       NOW COME Plaintiffs, DUNG NGUYEN, MYDUNG NGUYEN, and LINH

NGUYEN, by and through their attorney, Justin London, complaining of Defendants

COUNTRYSIDE POLICE DEPARTMENT, ANNA CUMBO, SAM BECCARA, and

ANGELA BECCARA, and in support thereof, state:


                                         Parties

       1.   Plaintiff DUNG NGUYEN (“DANNY”), MYDUNG NGUYEN (“MYDUNG”), and

LINH NGUYEN (“LINH”) are individuals, and collectively a family (“NGUYENS”), residing in

Countryside, Illinois.




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       2.      Defendant       COUNTRYSIDE           UNIVERSITY         POLICE       DEPARTMENT

(“COUNTRYSIDE”) is a municipal police agency in Countryside, Illinois.

       3. Defendant ANNA CUMBO (“CUMBO”) is an individual residing in Countryside,


Illinois.
         4. Defendant SAM BECCARA is the son-in-law of CUMBO and based on information

and belief, resides in Countryside, Illinois.

       5. Defendant ANGELA BECCARA is the daughter of CUMBO and SAM BECCARA’s

wife and based on information and belief, resides in Countryside, Illinois.

                                       Jurisdiction and Venue

       6.   The Court has subject matter jurisdiction under federal question jurisdiction pursuant

to 28 U.S.C § 1331.

       7. The Court has supplemental jurisdiction over other claims pursuant to 28 U.S.C.

1367(a).    Venue is proper pursuant to 28 U.S.C. §1391(b).

                                        Common Allegations

       8. The NGUYENS are Vietnamese immigrants. DANNY, along with his sisters,

MYDUNG AND LINH, own and operate Lee Nails, a nail salon in Countryside, Illinois.

       9. CUMBO is a landlord who owns a strip mall and a local diner in the mall called Little

Joe’s located at 20 E. Plainfield Road in Countryside, Illinois.

       10. Numerous officers in the COUNTRYSIDE POLICE DEPARTMENT eat at Little

Joe’s and based on information and belief, receive free food and/or are friends with CUMBO and

the BECCARAS.

       11. On March 17, 2005, Lee Nails entered into a five-year commercial lease (“Lease”)

with CUMBO to be a tenant and rent space at 26. E. Plainfield Road, commencing April 5, 2005

and terminating on April 1, 2010. A copy of the lease is attached herein as Exhibit A.
                                                 2
          12. As part of the terms of the Lease, the sewer and water bills are paid by the Lessor.

Nonetheless, CUMBO repeatedly asked DANNY to pay part of the water after the lease was

signed.

          13. Clause 8 of the Lease states that the “Lesee shall permit Lessor or Lessor’s agent

upon the premises at reasonable times and upon reasonable notice, for the purpose of inspecting

the same.”

          14. The case arises out of a multi-year feud between the NGUYENS and CUMBO and

CUMBO’s in-laws the BECCARAS.

          15. Since Lee Nails moved in to the space, the NGUYENS have been subject to incessant

harassment and intimidation by the COUNTRYSIDE POLICE, CUMBO, and BECCARA.

          16. There have been numerous disputes over parking, water usage, electricity, repairs,

and CUMBO entering the nail salon without notice.

                        Harassment and Intimidation of Nguyens Begins


          17. On May 17, 2008 at approximately 4:00 pm, CUBMMO had entered and inspected

Lee Nails without any notice whatsoever to the NGUYENS.

          18. On May 25, 2008, around 1:30 pm, CUMBO had entered the backdoor and took a

look around again without any notice.

          19. On June 3, 2008, at about 9:30 am, CUMBO angrily confronted a long standing Lee

Nails customer, Geannine Lynch, who had parked in the parking lot in back of Lee Nails, and told

her in a nasty tone of voice that she couldn’t park there and needed to move her car. At around

5:30 pm, CUMBO had once again entered and inspected the salon without notice.

          20. CUMBO made it regular practice to enter the salon from both the front and back

doors several times a week at any time of the day or evening without any prior notice whatsoever
                                                 3
and then walk though to inspect it even when there were customers there, in violation of Clause 8

of the Lease.

        21.     The NGUYENS asked CUMBO to cease the unannounced, impromptu, and

improper inspection tours several times, especially so because her visits interfered with the

NGUYENS’ business by disturbing both their employees and their customers.

        22. CUMBO not only did not honor the NGUYENS’ requests or Clause 8 of the Lease,

but informed them that “it was her building and she would do as she pleases.”

        23. On June 30, 2005, at approximately 5:00 pm, CUMBO came into the salon to get her

nails done. While LINH was manicuring her nails, she requested that she should get nails done

for free all the time instead of them paying the water bill.

        24. CUMBO threatened DANNY that if he did not obey her request, then she would give

him “a hard time.” DANNY denied her request.

        25. On August 17, 2005, at approximately 9:30 pm, DANNY had come to the salon for

an appointment with a customer. The customer complained that she parked in the back of the

building where there were also parking spaces for customers of Little Joe’s. However, CUMBO

said to her that she could not park there.

        26. On September 10, 2005, approximately 11:30 am, several customers complained to

DANNY that CUMBO was standing in the parking lot and asking customers, “Are you going to

Lee Nails?” When the customers said yes, CUMBO told them that they could not park there then.

        27. On October 12, 2005, CUMBO destroyed Lee Nails’ telephone cords in the back of

the building by pulling on them which damaged them and made them break so that Lee Nails

could not use their phone.

        28.     On May 5, 2006, CUMBO called an electrician to fix the electricity for her

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restaurant. However, the electricity box is located in the salon and she did not give any notice

before entering.

        29. On September 12, 2006, glue was placed in the key holds on the front and back locks

of Lee Nails, as well as on the bell.

        30. On September 13, 2006, at approximately 3:00 pm, CUMBO turned off the water to

the salon for no reason. Water is required for the nail salon to do manicures and pedicures and as

a result of no water, Lee Nails’ could not do work for their customers.

        31. On May 2, 2007, CUMBO ripped up an “AUTHORIZED PERSONNEL ONLY”

sign posted on the front door of Lee Nails. Lisa Marie Nguyen and Geraldine Fali witnessed the

incident.

        32. On June 7, 2007, CUMBO stood in front of her restaurant, watching customers park

in the parking lot, and once the customers walked out of their car, CUMBO would come up to

them and ask if they were going to Lee Nails. The customers would say yes and CUMBO would

tell them that they could not park there. CUMBO did this repeatedly on multiple occasions and

customers of Lee Nails complained about this to the NGUYENS.

        33. On August 2, 2007, the Countryside Police were called to resolve a landlord/tenant

dispute between Lee Nails and CUMBO.         LINH parked behind ANGELA BECCARA because

there were no other spaces. ANGELA screamed and swore at LINH to move her car. The police

were called and Officer Stern responded.

        34.    On August 3, 2007, LINH parked in the back parking lot just as ANGELA

BECCARA had parked on August 2, 2007. BECCARA blocked LINH in with her car.

        35. Later that day, CUMBO had electricians shut off the electricity to Lee Nails salon.

CUMBO was escorted by Officers Mikel, Cozen, and Wherry to deliver a notice regarding repairs

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needed at Lee Nails.

         36. On October 24, 2007, a police incident report was filed by Officer Wherry regarding

an “ongoing civil lease problem” between CUMBO and Lee Nails involving the electrical fix to

the exterior lights.

         37. On April 28, 2008, CUBMO requested that police escort her to deliver a letter

complaining of a leaky toilet to Lee Nails.   The letter demanded $190 for excess water usage.

Officer Agostino Alonzo assisted CUMBO in delivering the letter.

         38.   On June 8, 2008, DANNY arrived at his salon to find that his water had been turned

off.   He immediately tried to contact his landlord, CUMBO ,about the problem, but was unable

to reach her. Instead, he met with her daughter, ANGELA BECCARA.                BECCARA told

DANNY she did not know anything about the water problem, but told DANNY to wait while she

investigated the matter.

         39. DANNY waited from about 11:00 am to 2:30 pm to meet with CUMBO, but

CUMBO never showed up. Instead, DANNY met with SAM BECCARA who acknowledged that

the water had been turned off, but would be turned on again. However, the problem continued

throughout the week. Because no water was available, customers like Denise Reanise, Shirley

Fullor, Jennifer Krubl, and Jennifer Kuill who wanted pedicures were unable to get them.

         40. On June 13, 2008, the water problem occurred again. Without notice the water had

been shut off and there was no water to the salon. Customers once again complained that they

could get their nails done because there was no water including Barbara Mazur, Laurie Severino,

Vicki Notier, and Jaurice Nakovich.

         41. The disruption and loss of business to Lee Nails’ business caused by the water being

turned off was severe as no customers could receive service as water was required for manicures

                                                 6
and pedicures. Moreover, a lack of water made the salon unsanitary.

         42. On June 14, 2008, Officer James Stern came to the salon to resolve the water

problem. DANNY complained about the water issue and that his landlord had given no notice

before turning off the water.   Officer Stern tried to reach CUMBO about the problem, but was

only able to speak with ANGELA BECCARA. BECCARA told Officer Stern that the water had

only been turned off at night, but turned back on in the morning, due to construction at Little

Joe’s.

                                Nguyens Detained and Arrested


           43. On September 15, 2008, at roughly 7:57 pm, ANGELA BECCARA called the

COUNTRYSIDE POLICE to report water running in a sink at Lee Nails. Officer Stern and

Officer Muszynski responded to the call and based on information and belief conspired with the

BECCARAS to commit false arrest later that evening.

           44. At about 8:15 pm on September 15, 2008, LINH was engaged in a Buddhist

prayer in front the nail salon outside. She knelt down facing the salon and lit incense with a

novelty lighter shaped like a gun, which is part of the NGUYENS’ daily prayer ritual. As LINH

was praying, SAM BECCARA walked past LINH and called 911 to report a “lady with a gun.”

Officers Stern and Muszynski responded. They immediately call for backup and several squad

cars surrounded the nail salon and strip center.

           45. One of the officers immediately grabbed LINH, arrested her, and placed her in

handcuffs and sat her down in front of the salon.

           46. One of the officers entered the back room of the salon and said “Hey you” to

DANNY. DANNY said, “What happened?” The officer said “Come over here right now!”

DANNY said, “What? What happened?” The officer said “Motherfucker you come over here!”
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DANNY went over to where the officer was and was handcuffed, escorted outside, and placed

down near where LINH was sitting in front of the salon.

           47. LINH then heard two of the officers shout, “Go arrest her too!,” meaning her

sister, MYDUNG.      LINH frantically stood up to see what was happening to her sister.    The

officer who was observing LINH grabbed her right arm and the second officer who was

observing DANNY rushed over to help push LINH down by grabbing her left arm. Together,

both officers pushed LINH down to the pavement while holding her arms. At that time, LINH

lost her balance and fell forward on her knees and then fell backwards from the pressure of the

handcuffs on her wrists and the amount of pressure placed on her arms by the police.

Consequently, she sustained serious bruising and injuries. The events were witnessed by-stander

Joanne Moore.

          48. The officers harshly yelled, “Sit down!” All the while, LINH had been silent,

never said a word, and obeyed all police commands. The police never told LINH why she had

been arrested, what was going on, and did not read her Miranda rights.          They told her,

“Whatever you want to say, say it to the judge.”

          49. MYDUNG became startled as she watched her siblings being detained and taken

outside and ordered to sit on the pavement. MYDUNG saw LINH being handcuffed and then

saw DANNY arrested. MYDUNG panicked as she grabbed the phone and ran to the back room

to call her friend as she was scared and did not know what was happening.

          50. Two officers had followed MYDUNG and one of them grabbed the phone out of

her hand. MYDUNG asked “What happened?” One officer said, “You are under arrest mother

fucker, shut up, and read my lips!” He then took her arms and yanked them behind her. As he

was trying to handcuff MYDUNG, she told the officer that he was hurting her and then the

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officer yanked even harder and handcuffed her. The officers proceeded to push MYDUNG

outside into a squad car. By this time, DANNY and LINH were both handcuffed and sitting on

the pavement. After about five to ten minutes, DANNY, LINH, and MYDUNG were all taken

to the Countryside police station in separate squad cars and placed in different jail cells.

          51.    The officers never explained to DANNY, LINH, or MYDUNG what was

happening, why they were being arrested, or read them their Miranda rights.

          52. MYDUNG was handcuffed in the cell to a bench so she could not freely move in

the cell. Her sister LINH had immediately asked to make a phone call, but was initially denied.

Finally, after about an hour of constant begging, she was allowed to call a family member to bail

her out, but the officer made it clear with her that she was only allowed “a minute” on the phone.

          53. MYDUNG then asked the police to use the bathroom. She was told to remove all

of her jewelry. Since her bracelets were very difficult to remove, MYDUNG asked how long she

and her family would be held and told “not long” so she decided at that time to wait.

          54. After forty minutes passed, MYDUNG was taken to be fingerprinted. Afterwards,

she was returned and again handcuffed to the bench. They were so tight her hand turned purple.

She asked an officer passing by to loosen the handcuffs and he did. However, by this time, her

hand was already cold and numb.

          55. After about another hour passed, MYDUNG called out for someone to come.

MYDUNG said she needed to go to the bathroom as she couldn’t wait any longer. There was no

response. She took her shoe off and banged on the wall with it to get officers’ attention. She

was in a lot of pain at that point. The officers never came so she was forced to urinate on the

floor in the spot where she was handcuffed as she could not move.               There were cameras

mounted above her and MYDUNG was humiliated as she was being monitored, but given the

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emergency nature of the situation, had no choice but to go.

           56. Approximately thirty minutes later, an officer came and asked her what she had

done.    She told him she could not wait any longer and he asked her why she did not defecate

too. He said she was “ridiculous.”

           57.    After about forty minutes, at 1:40 am, the NGUYENS were all released.

MYDUNG’s mother, friend, neighbor and daughter were all waiting for them. They had been

waiting 4 ½ hours for their release.


                          The Harassment Against Nguyens’ Continues


           58.     On or about September 20, 2008, two Countryside police officers (one in an

unmarked vehicle) were reported inspecting and photographing the NGUYEN residence on 8th

Avenue in Countryside.

           59.    On September 20, 2008, the landlord had once again shut off the water to Lee

Nails.   Numerous customers could not receive service and complained including Justin Joeyl,

Diane Trezek, Tammy Chavez, Tracy Wasserstein, Amy Van Dyke, Carmella Lonero, Kim

Kozarits, and others1.

           60. The NGUYENS lost a substantial amount of business and sustained financial

harm as a result of the water being turned off.

           61. On October 1, 2008, three Countryside Officers came to Lee Nails to issue

Citation CC #12174 for theft of water. A copy of the citation is attached herein as Exhibit B.

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  On September 20, 2008, Kozartis and eight other women came in to get pedicures for a wedding night but couldn't
because the water wasn't turned on. Customers Auuel Paaker and her daughter came in for pedicures, but couldn't
because water was not turned on and had to reschedule. Customers Kashai Bright and Amanda Caldwell were
witnesses that the water pressure weakened to a small drizzle making it impossible to perform pedicures and
rendering the washroom unusable.

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The ticket was issued after CUMBO and/or the BECCARAS complained to the police that Lee

Nails was using excessive water.      According to the report, ANGELA BECCARA and her

employee Jose saw the water running unattended for approximately ten minutes that evening.

However, according to other customers-witnesses, Eileen Marchetti and Josette Legris, there was

no water on at the time or for two hours prior to the officers coming into the salon.

           62. On March 19, 2009, Judge Belmonte, in Case Number CC12174, dismissed the

Citation and reversed the fines after finding that Lee Nails did not steal any water. A copy of the

finding is attached herein as Exhibit C.

           63. On October 15, 2008, a regular customer of Lee Nails, Jackee LaRicca, who was

receiving nail treatment, saw and witnessed an unknown car, parked across the street from the

salon at John’s Auto Body, shining his bright headlights into the salon for at least 20-30 minutes

and staking out the salon until it closed at approximately 8:15 pm.

          64. On October 28, 2008, a regular customer of Lee Nails, Dr. Louise Eggert-Nevins,

saw and witnessed that a man came into Lee Nails and very sarcastically asked, “What time is it?

Do you have a clock?.”       The customer was surprised because Lee Nails is not a traffic

thoroughfare.   The customer and LINH noticed that the man left laughing and walked to the

corner and entered Little Joe’s.

          65. On November 3, 2008, between 6-7 pm, Lee Nails customer, Kelli Charse, and

her daughter, were in the salon being serviced and witnessed SAM BECCARA walking past the

salon numerous times and parking in front on the salon talking with his friends for a lengthy

period of time, making them and other Lee Nails customers feel very uncomfortable.

          66. On January 22, 2009, at approximately 3:00 pm, SAM BECCARA harassed a Lee

Nails’ customers, Laurie, in front of LINH and other customers, saying, “I recognize you.

                                                 11
You’re from the Head School Board of Saint Cletus. I have a child who attends Saint Cletus too.

Why do you even defend these people who have a gun?”

          67. On January 26, 2009, at approximately 10:00 am, LINH had an appointment with

her customer Laurie Severino. Severino had come a little early and was waiting in her car.

ANGELA BECCARA saw Severino in the parking lot, started approaching her by walking

straight towards her car. Severino was immediately frightened and frantically took out her cell

phone to take a picture of her. As soon as BECCARA saw the cell phone facing towards her, she

then turned back and headed towards Little Joe’s.

          68. On February 25, 2009, at approximately 6:30 pm, a regular customer, Jill Jirsa,

saw a young man come into Lee Nails and ask, “What time is it?”        After LINH answered his

question, he then walked to the corner and entered Little Joe’s. As Jirsa waited for her nailed to

dry, the same young man came into the salon at about 7:30 pm and asked the same question,

“What time is it?” and then walked away.

          69. On March 3, 2009, at approximately 12:45 pm, LINH heard some noises that were

coming from the back of the salon. He then went to the back and opened the door to see what

was happening.    When he did, he saw SAM BECCARA standing with an unfamiliar person.

SAM BECCARA then pointed his finger at LINH and commanded her to “Get back into your

room!” LINH was frightened and quickly closed the door. About 15 minutes later, her brother

DANNY, came to work. When he came out of the car, SAM BECCARA commanded the

unknown man that was standing with him earlier to approach DANNY.

          70. DANNY was frightened and quickly entered the salon and shut the door behind

him. DANNY told his sister what happened in the parking lot. When LINH heard what

DANNY said, she told him what had happened to her early. LINH then waited a few minutes

                                               12
later and opened the door. When she did, she saw that SAM BECCARA and the unknown man

were still in the parking lot.

             71. When LINH noticed that they were still there, SAM BECCARA                 then

commanded the unknown man to “Go get them!” When LINH heard those words, she became

terrified and shut the door. LINH was so scared that she asked her customer to help her and call

the police. But when her customer called, the police refused to show-up though an incident

report was made.     At the same time, ANGELA BECCARA started taking pictures of LINH’s

customers.

           72. On March 30, 2009, at approximately 9:15 pm, LINH’s four family members

including LINH, were leaving Lee Nails. LINH securely locked the back door, and all her

family members saw that she locked it very securely. LINH even tugged on it to make sure it

was secure. About 15 minutes later, when she got home, she received a phone call from the

Countryside Police Department saying that the back door to the salon was opened about 4 inches

wide. LINH then got frightened and immediately went back to Lee Nails to check the door and

surrounding of the salon. It seemed locked up and secure as LINH checked the front and back

door.

           73. LINH then drove to the Countryside Police Department to find out what exactly

had happened. When LINH arrived there, she spoke with Officer Ernest Millsap.        She asked

him how he knew that the door was open and he told her that ANGELA BECCARA called them

and reported that the door was opened.    LINH became very suspicious as she had looked the

door securely as the only way that a person could have opened the door was if the person had a

key.

           74. On May 19, 2009, at approximately 10:05 am, a scary looking stranger (bald and

                                              13
muscular) was waiting for DANNY to arrive at work.                 The man immediately rushed up to

DANNY with a menacing look and said, “How do you get to Radioshack?”                    The man’s car was

parked next to DANNY’s landlord’s car (identified as a white Hummer), near an alley, and had

no license plates on the front or back. DANNY became terrified and did not answer. Instead, a

customer, Mary Nickels, came out to explain where Radioshack was.                    The stranger quickly

hurried away and drove the wrong way.

             75. On June 24, 2009, there was a witness that saw Fire Marshalls that harassed the

NGUYENS by giving them a lecture about how they could not lock the door when customers

were present. They did not give this lecture or inform other businesses in the strip plaza, but

waited for LINH’s arrival with a friend who was not a customer, gave the lecture, then walked

over to Little Joe’s.

             76. On July 3, 2009, the police came to Lee Nails to make a complaint on behalf of

CUMBO and Little Joe’s, the restaurant CUMBO owns. The policeman told the friend to stop

taking pictures and that they were making CUMBO nervous.

             77.   The NGUYENS have been so terrorized and afraid of CUMBO and the

BECCARAS’ that they lock the door to their store. The numerous acts of harassment and

intimidation has caused the NGUYENS severe emotional distress. They have also been victims

of crime2.

             78. The NGUYENS have recently moved out, but continue to pay rent. However, the

locks have been changed on the front door and CUMBO has used their space to store her own

property.     DANNY filed an incident report with the Countryside Police among the numerous


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 Sometime between May 20, 2008 and May 21, 2008, Lee Nails was burglarized and $1,000 was stolen after forced
entry through the North front door.

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others filed by the NGUYENS, attached herein as Group Exhibit D.

          79. On November 12, 2009, the landlord reportedly entered 26 E. Plainfield Rd. in

Countryside accompanied by the police and unplugged the electrical equipment without the

NGUYENS’ permission.

          80. On November 15, 2009, DANNY and another visitor requested a police report at

their salon regarding the incident with the electrical equipment being unplugged without

permission and authorization.

          81. On January 7, 2010, the landlord had changed the locks at 26 E. Plainfield Rd.

which she also used for storing ceiling tiles and fans in the building without the NGUYENS’

permission. The landlord then stated that her attorney had said DANNY was not allowed to

remove any of his cameras.

          82. On January 14, 2010, the signage that DANNY left in front of his window of the

space he rents at 26 E. Plainfield Rd. which was there to direct his customers to his new location

was taken down by the landlord without permission and authorization.

          83. Due to the severity of the harassment, intimidation, and abuse of the NGUYENS

by the Countryside Police and the NGUYENS’ landlord, concerned customers including Betty

Maier and Delphine Schenider, wrote letters to the Countryside Mayor, Robert Conrad, and

Countryside Chief of Police to complain and request an investigation.      See Group Exhibit E

attached herein.   Numerous customers also wrote letters to Illinois Attorney General, Lisa

Madigan, to complain and to request investigation into the matter.        See Group Exhibit F

attached herein.




                                               15
                                       COUNT I
                                   VIOLATION OF
                          OF THE CIVIL RIGHTS ACT OF 1971
                                   42 U.S.C. § 1983

                             Police Use of Excessive Force
                        (MyDung and Linh Against CountrySide Police)

          1-83 Plaintiffs MYDUNG and LINH re-allege and reincorporate paragraphs 1-

83 as paragraphs 1-83 of this Count I.

          84. The COUNTRYSIDE police officers who arrested the Plaintiffs were acting under

color of Illinois state law at the time they made the arrests.

          85. The police officers denied the plaintiff the protections of the U.S. Constitution. In

particular, the police officers had violated the Fourth and Fifth Amendment rights of the

plaintiffs.

          86. The plaintiffs were entitled and a right to be protected from unreasonable searches

and seizures including protection and a right to be free from excessive force used by the police.

          87. The plaintiffs were searched and seized when they were apprehended and arrested

within the meaning of the Fourth Amendment.

          88. The officers used excessive force in detaining and apprehending the plaintiffs.

          89. LINH and MYDUNG sustained substantial black, blue, and purple bruising as a

result of the excessive force.

          90. LINH sustained substantial bruising on her arms and legs as a result of the

excessive force using by officers in knocking her down and restraining her arms.

          91. MYDUNG sustained substantial bruising to her hands and wrists from excessive

force placed on her in the handcuff restraints.

          92. LINH and MYDUNG have incurred damages of severe injuries, pain, and suffering

as a result of the excessive force used by the officers.

                                                  16
          WHEREFORE, Plaintiffs LINH and MYDUNG pray for judgment against Defendant

COUNTRYSIDE POLICE DEPARTMENT as follows:

          A. Compensatory damages to be determined at trial.
          B. Punitive damages to be determined at trial.
          C. Reasonable attorneys fees and court costs.
          D.Any other relief that this court deems just and equitable.
                                            COUNT II

                                    NEGLIGENCE
                     (MyDung and Linh Nguyen Against Countryside Police)

          1-83. Plaintiffs MYDUNG and LINH re-allege and reincorporate paragraphs 1-83 as

paragraphs 1-83 of this Count II.

          84. The COUNTRYSIDE police officers who arrested the Plaintiffs were acting under

color of Illinois state law at the time they made the arrests.

          85. The police officers owed a duty of care to the plaintiffs when making an arrest.

          86. The police officers breached that duty of care by failing to act like a reasonable officer

would have acted given the situation.

          87. In particular, a reasonable police officer would not have grabbed a tiny woman

(LINH) and pushed her so hard while she was handcuffed so that she would sustain injuries and

would not have handcuffed a person (MYDUNG) so tight as to cause injury to their hands and

wrists.

          88. LINH and MYDUNG sustained substantial black and blue bruising as a result of the

excessive force.

          89. LINH sustained substantial bruising on her arms and legs as a result of the excessive

force using by officers in knocking her down and restraining her arms.

          90. MYDUNG sustained substantial bruising to her hands and wrists from excessive

force placed on her in the handcuff restraints.
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       91. The police officers were the direct and proximate cause of the harm to LINH and

MYDUNG.

       91. LINH and MYDUNG have incurred damages of severe injuries, pain, and suffering

as a result of the excessive force used by the officers.


       WHEREFORE, Plaintiffs LINH and MYDUNG pray for judgment against Defendant

COUNTRYSIDE POLICE DEPARTMENT as follows:

       A. Compensatory damages to be determined a trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D. Any other relief that this court deems just and equitable.


                                     COUNT III
                                   VIOLATION OF
                          OF THE CIVIL RIGHTS ACT OF 1971
                                   42 U.S.C. § 1983

                                     Illegal Detention
                          (Danny Nguyen Against Countryside Police)

       1-83. Plaintiff DANNY re-alleges and reincorporates paragraphs 1-83 as paragraphs 1-

83 of this Count III.

       84. The Countryside police officers who arrested the Plaintiffs were acting under color

of Illinois state law at the time they made the arrests.

       85. The police officers denied the plaintiff the protections of the U.S. Constitution. In

particular, the police officers violated the plaintiff’s Fourth and Fifth Amendment rights.

       86. The plaintiff was entitled and a right to be protected from unreasonable searches and

seizures including protection and a right to be free from illegal detention.

       87. The plaintiff was searched and seized when he was apprehended and detained within

the meaning of the Fourth Amendment.

                                                  18
       88. The police had no probable cause to detain and seize DANNY as the police did not

have a search warrant and had no reason to believe that DANNY had engaged in any criminal

act.

       89. To the contrary, DANNY cooperated, obeyed all commands, and did not resist arrest

even though he was never told what was going on, why he was being arrested, or read his

Miranda rights.

       90. DANNY was restrained, detained, and arrested against his will both outside the salon

and when he was placed in jail.

       91. DANNY was unnecessarily and wrongfully detained.

       92. The detention was procured by the COUNTRYSIDE POLICE DEPARTMENT without

having reasonable grounds or probable cause to believe that these offenses had been committed

in violation of DANNY’s Fourth Amendment rights.

       92. As a direct and proximate cause of the illegal detention, DANNY has sustained pain,

anguish, and emotion suffering.

       WHEREFORE, Plaintiff DANNY prays for judgment against Defendant COUNTRYSIDE

POLICE DEPARTMENT as follows:


        A. Compensatory damages to be determined at trial.
        B. Punitive damages to be determined at trial.
        C. Reasonable attorneys fees and court costs.
        D.Any other relief that this court deems just and equitable.




                                                 19
                                       COUNT IV
                                     VIOLATION OF
                            OF THE CIVIL RIGHTS ACT OF 1971
                                     42 U.S.C. § 1983

                                       False Arrest
                            (Danny Nguyen Against Countryside Police)

          1-83. Plaintiff DANNY re-alleges and reincorporates paragraphs 1-83 as paragraphs

1-83 of this Count IV.

          84. The Countryside police officers who arrested the Plaintiffs were acting under

color of state law at the time they made the arrests.

          85. The police officers denied the plaintiff the protections of the U.S. Constitution or

federal law. In particular, the police officers had violated the Fourth and Fifth Amendment

rights of the plaintiffs.

          86. The plaintiffs was entitled and a right to be protected from unreasonable searches and

seizures including protection and a right to be free from false arrest.

          87. The plaintiff was searched and seized when he was apprehended and detained within

the meaning of the Fourth Amendment.

          88. The police had no probable cause to detain and seize DANNY as the police did not

have a search warrant and had no direct knowledge that DANNY had engaged in any criminal

act.
          89. To the contrary, DANNY cooperated, obeyed all commands, and did not resist arrest

even though he was never told what was going on, why he was being arrested, or read his

Miranda rights.

          90. DANNY was restrained, detained, and arrested against his will and unnecessarily

seized.

          91. The police charged DANNY with two counts of obstruction of justice.


                                                   20
        92. DANNY had to close his business for 14 days, losing substantial business, to appear

in court.

        93. The arrest was procured by the COUNTRYSIDE POLICE DEPARTMENT

without having reasonable grounds or probable cause to believe that these offenses had been

committed.

        94. The judge dismissed all charges against DANNY because he found there was no

probable cause to bring the charges.

        95. As a direct and proximate cause of the false arrest, DANNY has sustained financial

and emotional harm.

        WHEREFORE,          Plaintiff   DANNY       prays       for   judgment   against   Defendant

COUNTRYSIDE POLICE DEPARTMENT as follows:


        A. Compensatory damages to be determined at trial.
        B. Punitive damages to be determined at trial.
        C. Reasonable attorneys fees and court costs.
        D. Any other relief that this court deems just and equitable.


                                     COUNT V
                                   VIOLATION OF
                          OF THE CIVIL RIGHTS ACT OF 1971
                                   42 U.S.C. § 1983

                                     Jail Abuse
                        (MyDung Nguyen Against Countryside Police)

        1-83. Plaintiff MYDUNG re-alleges and reincorporates paragraphs 1-83 as paragraphs

1-83 of this Count V.

        84. The COUNTRYSIDE police officers who arrested MYDUNG were acting under

color of Illinois state law at the time they made the arrest.

        85. The police officers denied the plaintiff the protections of the U.S. Constitution.
                                                  21
In particular, the police officers had violated the Eighth Amendment rights of MYDUNG.

       86. The plaintiff was entitled to be protected from cruel and unusual punishment

including the right to be free from inhumane jail conditions, treatment, and abuse.

        87. MYDUNG was handcuffed to a bench, restrained in movement, and unable to move
in her cell.

       88. MYDUNG was denied the use of a bathroom by the police and forced to urinate in her

cell and to be humiliated and videotaped.

       89. MYDUNG sustained substantial bruising to her hands and wrists from being

handcuffed so tight to the bench in the cell for at least 3 ½ hours.

       90. MYDUNG has sustained injuries including, but not limited to, bruising, humiliation,

pain, and suffering as a result of the violation her Eighth Amendment Rights.

       WHEREFORE,          Plaintiffs   MYDUNG        prays   for      judgment   against   Defendant

COUNTRYSIDE POLICE DEPARTMENT as follows:


       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D.Any other relief that this court deems just and equitable.


                                         COUNT VI

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
               (Nguyens Against Combo, Sam Beccara, and Angela Beccara)

       1-83. Plaintiffs re-allege and reincorporate paragraphs 1-83 as paragraphs 1-83

of this Count VI.

       84.    The conduct and numerous acts engaged in by Defendants CUMBO, SAM

BECCARA, and ANGELA BECCARA against the NGUYENS were intentional, willful, and

malicious.

                                                 22
       85. In particular, CUMBO intended to maliciously shut off the NGUYENs electricity,

turn off their water, rip up their signs, change their locks, enter their salon without notice, harass

their customers, and harass the NGUYENS.               Similarly, SAM and ANGELA BECCARA

intended to harass and intimidate the NGUYENS by making false police reports, sending

unknown people into their salon to harass them, ordering unknown people to “get them,”

harassing their customers about parking, and yelling at the Plaintiffs in front of their customers

and other employees.

       86. The Defendants intended that their conduct would inflict severe emotional distress on

the Plaintiffs or knew that there was a high probability that their conduct would do so.

       87. The conduct by CUMBO, SAM BECCARA, and ANGELA BECCARA was extreme

and outrageous. In particular, the harassment and intimidation was frequent and over a long

period of time and so bad that the NGUYENS were compelled to move out of their salon.

       88. The Defendants’ behavior and conduct was a direct and proximate cause of the

Plaintiffs’ severe emotional distress and suffering.

       WHEREFORE,          Plaintiff   DANNY        prays    for   judgment     against    Defendant

COUNTRYSIDE POLICE DEPARTMENT as follows:


       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D.Any other relief that this court deems just and equitable.
                                         COUNT VI I

                                  BREACH OF CONTRACT
                                    (AGAINST CUMBO)

       1-83. Plaintiff DANNY re-alleges and reincorporates paragraphs 1-83 as paragraphs 1-83

of this Count VII.
                                                 23
       84. CUMBO and DANNY entered into a valid and binding commercial Lease attached

hereto as Exhibit A. In particular, there was an offer of space by CUMBO, acceptance by

DANNY, and consideration of monthly rental payments from DANNY to CUMBO.

       85.   CUMBO has changed the front locks to the salon so that DANNY cannot use the

space and deprived DANNY of use of the space in violation of Clause 1 at the term has not

expired.

       86. CUMBO has entered the salon at unreasonable times and/or without notice in

violation of Clause 8.

       87. Despite numerous requests by the NGUYENS, CUMBO failed to repair the front

entrance door to the salon which was old, dilapidated, and kept squeaking. The NGUENS’ tried

to repair it themselves, but could not due to the door’s dilapidation.

       88.   CUMBO has used the salon space to store her personal items in violation of

DANNY’s exclusive use of the space in violation of Clause 1.

       89. DANNY has fully performed his contractual obligations to pay monthly rent to

CUMBO. No back rent is owed.

       90.   CUMBO agreed to supply and pay for the water to the nail salon, but wrongfully

had the water shut off on numerous occasions.

       91. CUMBO breached the terms of the Lease.

       92. As a direct and proximate cause of the breach, DANNY has sustained damages.

WHEREFORE, Plaintiff DANNY prays for judgment against Defendant CUMBO as follows:


       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D. Any other relief that this court deems just and equitable.

                                                 24
                                       COUNT VII

                                   PRIVATE NUISANCE
                          (Nguyens Against Cumbo and the Beccaras)


        1-83. Plaintiffs re-allege and reincorporate paragraphs 1-83 as paragraphs 1-83

of this Count VII.

        84. CUMBO and the BECCARAS engaged in harmful non-tresspassory conduct with the

intent of causing harm to the NGUYEN”s use and enjoyment of their land and/or with

knowledge that harm was substantially certain to result.

        85. CUMBO and ANGELA BECCARA interfered with the right of Lee Nails customers

to park in common areas for parking by harassing and yelling at them to move their cars. To wit,

the NGUYENS were granted an easement for their customers to park in front of and in back of

the strip center, but CUMBO and the BECCARAS interfered with its use.

        86. CUMBO wrongfully changed the locks to the salon so that the NGUYENS could not

enter their leased space.

        87. CUMBO wrongfully had the electricity turned off and repeatedly had the water shut

off to the NGUYENS’ salon to harass them and to cause substantial harm to their business.

        88. Based on information and belief, CUMBO and/or the BECCARAS placed glue into

the locks on the salon.

        89. The BECCARAS sent unknown individuals into the NGUYENS’ salon to harass

them.
                                                25
       90. THE BECCARAS took pictures of the NGUYENS in their salon without their

permission with the intent to harass, stalk, and/or spy on them.

       91. SAM BECCARA stood outside the salon, loitering in front, to discourage customers

from entering and to harass the NGUYENS by repeatedly shouting, menacing, and threatening

them to “Get back in their room!” and directing others to “Go get them!” when they opened the

door to their salon.

       92. CUMBO and the BECARRAS’ conduct was unreasonable, harmful, and egregious.

       93. Such acts invaded the private use and enjoyment of the NGUYENS’ exclusive use of

their land, namely the leased space at 26 E. Plainfield Road.

       94. Such interference would be considered a material annoyance and inconvenience to a

reasonable person.

       95. As a direct and proximate cause of the breach, the NGUYENS’ has sustained

damages including the inability to use their own leased space and operate their business.

       WHEREFORE, Plaintiff NGUYENS prays for judgment against Defendant CUMBO as


follows:

       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D.Any other relief that this court deems just and equitable.
                                       COUNT VIII

                            INTRUSION UPON SECLUSION
                           (Nguyens Against Cumbo and Beccaras)
       1-83. Plaintiffs re-allege and reincorporate paragraphs 1-83 as paragraphs 1-83 of this

Count VIII.

       84. CUMBO and the BECCARAS engaged in unauthorized intrusion and/or prying into

                                                26
the plaintiffs’ seclusion, namely, the plaintiffs’ right to operate their salon with reasonable

privacy free from harassment, intimidation, spying, and intrusion.

          85. CUMBO interfered with the right of Lee Nails customers to park in common areas for

parking by harassing and yelling at them to move their cars. To wit, the NGUYENS were

granted an easement for their customers to park in front of and in back of the strip center.

          86. CUMBO changed the locks to the salon so that the NGUYENS could not enter their

leased space.

          87. Based on information and belief, CUMBO and/or the BECCARAS have sent and

directed unknown individuals into the NGUYENS’ salon for the sole purpose to harass them and

harm their business as well as harass and intimidate them outside of the salon.

          88. Based on information and belief, CUMBO and/or the BECCARAS along with

unknown individuals that have conspired with the CUMBO and /or the BECCARAS, have spied

on and stalked the NGUYENS and intruded upon their seclusion.

          89. Such matters upon which the intrusions have occurred are private. In particular, the

NGUYENS had a reasonable expectation of privacy to not be spied upon, stalked, harassed,

intimidated, have people watching them, tracking their movements, taking pictures of them,

shining headlights into their salon, and prying into their business at the salon.

          90. The Defendants’ acts are unreasonable, unwarranted, and/or unlawful.

          91. Such acts invaded the private use and enjoyment of the NGUYENS’ exclusive use of

the leased space at 26 E. Plainfield premises.

          92. Such intrusion would be considered objectionable and offensive to a reasonable

person.

          93. As a direct and proximate cause of the breach, the NGUYENS’ has sustained

                                                 27
damages including anguish and suffering.

       WHEREFORE, Plaintiff NGUYENS prays for judgment against Defendant CUMBO as

follows:


       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D.Any other relief that this court deems just and equitable.
                                        COUNT IX

                 TORTIOUS INTERFERENCE WITH PROSPECTIVE
                          ECONOMIC ADVANTAGE
                      (Nguyens Against Cumbo and Beccaras)

       1-83. Plaintiffs re-allege and reincorporate paragraphs 1-83 as paragraphs 1-83

of this Count IX.

       84. The NGUYENS had valid existing business relationships with numerous salon

customers who regularly used the nail salon services.        In addition, the NGUYENS had a

reasonable expectation of entering into valid business relationships with new customers.

       85. CUMBO and the BECCARAS had knowledge of these relationships and had

knowledge of the plaintiffs’ expectancy to enter into a valid business relationship. In particular,

they knew that the NGUYENS were running a nail salon, had a commercial lease to rent space

for the salon, and had valid business relationships with their customers and an expectancy of new

customers through referrals.

       86.   CUMBO and the BECCARAS’ intentionally interfered with the NGUYENS’

business relationships through their harmful conduct which induced termination of some of these

relationships and/or prevented the expectancy from ripening into valid business relationships.

       87. CUMBO and the BECCARAS intended and/or were substantially certain that their


                                                28
conduct would induce the NGUYENS’ customers to stop patronizing their salon and induce

termination of existing business relationships.

       88. Due to the repeated egregious acts, harassment, and intimidation by CUMBO and the

BECCARAS towards the NGUYENS and their customers, numerous customers that the had

existing business relationships have stopped doing business with them.

       89. The harassment, threats, and intimidation towards the NGUYENS became so bad

that the NGUYENS moved out of their salon for fear of their own lives.

       90. Numerous customers feared for their own lives because they believe the NGUYENS’

landlord and her family are insane (based on their first hand experience with them), capable of

hurting them, and/or getting them arrested, especially in light of the NGUYENS’ arrest which

substantially harmed their reputation with their customers.

       91. As a direct and proximate result of the Defendants’ interference, the NGUYENS

have sustained substantial financial harm to their salon business.

       WHEREFORE, Plaintiff NGUYENS prays for judgment against Defendant CUMBO as


follows:

       A. Compensatory damages to be determined at trial.
       B. Punitive damages to be determined at trial.
       C. Reasonable attorneys fees and court costs.
       D.Any other relief that this court deems just and equitable.


                                                       Respectfully Submitted,

                                                       DUNG NGUYEN, LINH NGUYEN,
                                                       MYDUNG NGUYEN

                                                       /s/ Justin London___________
                                                       Plaintiffs’ Attorney


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